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_Fl|l ln this lnformatlon to ldentlfy your casa:

bevin Mnuricio Artola Canalcs

Fnsl Nan\e Mrdcle Nan\e La:t blame

Det>tor1

 

DEblO! 2
(Spause, it liltngl Frrsr Name l¢t»:iclle blame Las: Neme

E tcm '
Unl|ed States Bankruplcy Coun for the; as D`rslrlct ol Ncw york

sr . . .
case number ( am 0 Check lf thrs rs an

(ll known) amended fl|]ng

 

 

 

 

Officia| Form 108
Statement of intention for lndividuals Filing Under Chapter 7 we

 

lt you are an tndlv|dual filing under chapter 7, you must till out this form lf:

l creditors have claims secured by your property. or

l you have leased personal property and the lease has not expired.

You must file th ls form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever fs earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Botlt debtors must sign and date the form.

Be as complete and accurate as possible. lf more space ls needed. attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known}.

met Your' Creditors Who Have Secured Clalms

1. For any creditors that you listed in Part ‘l of Schedule D: Credr'tors Who Have Clar'ms Sacured by Froperty (Otficial Form 1060), fill in the
information below.

 

ldeptlfy the creditor and the property that is coltatera| What do you intend to do with the property that Dicl you claim the property -
secures a debt? as exempt on Schedule C?
Credn°"'$ Mr COOP€T l:l Surrender the propertyl El No
name:
' ' """"" ' """' '" * ' " """ ' El Retain the property and redeem it. @ Yes

Descrlption of l4 Lloyd Dr., Brentwood, NY |l'll'l
property
securing debt:

}U Retar`n the property and enter into a
Reaflirmatr`orr Agreemenl‘.

[] Retain the property and [explain};

 

 

C"edit°‘)$ m Surrender the property ft No
name:

"' ' ' ' ' " ' ' ' " ' " El Ftetain the property and redeem `rt. Cl yes
Descrr`ptr`on of
property
securing debt:

n Retain the properly and enter into a
Reafurmation Agreement.

El Retein the property and [exp|ain]:

 

 

Creditor’s Cl Surrender the property. m NO
name; .
' [:l Retaln the property and redeem rl. Cl Yes

Descript`ron of
worleny
securing debt:

Cl Relain the property and enter into a
Reafl'r‘rmal.ion Agreement.

U Retain the property and [exp|ain]:

 

 

Credit°"s l:l Surrender the properlyl l:l No
namer .
' l;l Relain the property and redeem rt. Cl Yes

El Retain the property and enter into a
Reahirmation Agreemenl.

|:l Retain the properly and [explain]:

Description of

property
securing debt

 

Otncial Form 108 Statement of lntention for individuals Filing Under Chapter 7 page 1

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Levin Mauricio Artola Canalcs
Debtor 1 Case number (lrknown‘
Flrst Narne media Name test Name

Llst Your Unoxpired Personal Property Leases

x
l For any unexpired personal property lease that you listed in Schedu/e G: Executory Contracts and Unexpired Leases (0fficial Form 1066),

§ fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume lt. 11 U.S.C. § 365(p)(2).

 

 

 

7 Descrlbe'your unexpired personalproperty leases ' ' ' j " ‘i' ' 7 7 ' ` vj rj' 7 _ Wlli they lease:be assumed?
Lessors name: m No
§ ._-....,.,,4 ~.… _ ._.,_4.,..-`,.._,.. .__.,. ._.<, ` , ,,. , _...v_.,.. .....v ..,,,. . .,. t __ l . .. . , . ,....- . ..._ /.`_.. w..__..,_._ ...- ....~.......-....,.......,..~..'-'»..... ..»~-_....» .»»- n yes
z Description of leased

l property:

l

Lessor's name: 0 No

§ ..,__-_-__-.l.,.,,_...-_,e_,-..... _ - ._,… … ,. , … `. .. …_ “.- ____-,.,.. ,.." - - ,,~ -_.W `- g Yes
4 Descnptron of leased

property:

; Lessor's name: l;| No
§ Description of leased a Yes
l properiy:

§ Lessor's name: l:l No

._-. . ._. , t., . . .,w. ¢.~_¢ ., ,,_.._"__r.~...-,-~`__.. ,~_-~-.,_._.-…,_, n Yes

Description of leased
Pf°p€llyi

 

Lessor’s name: n No
7 _, ,_..,...,..._re_.`__._-.,.. a w _. ,m ..-~...A ______ .r...r g Yes

, ,,.,,. .,- ...___,e.._., .,_... _ m . ,, , _, .. 4 o.,_,. ... ,,__, .. »>,, ,,

_‘ Description of leased
l property:

 

Lessors name: |:| No
._",..V.,,.,.~..---.~,.”_… ~,-…,-.--- u¥es

Description of leased
P\’°D€\'Wf

 

l Lessor's name: Cl No

5 ' ` ` ` ` ""` ' "“"‘_""_“"“` ` '“`"““'__""`"""'""_"' ClYes
Description of leased
§ propertv=

 

Under pa declare that l have indicated my intention about any property of my estate that secures a debt and any
to an unexpired leaso.

  
    

X

Signature ot Deblor 2

 

WUSEBTF"
Dale /Z//é£ /g Date

MMI DD I YVYY MMI DD/ YYYY

Of&cial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

